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 4
     Attorney for Defendant, VICTORIANO PACHECO
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 6
                    IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                            EASTERN DISTRICT OF CALIFORNIA
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 9
     UNITED STATES OF AMERICA,   )                CASE NO. 1:11-CR-00376 DLB
10                               )
           Plaintiff,            )
11                               )                STIPULATION AND
         v.                      )                ORDER TO CONTINUE
12                               )                STATUS CONFERENCE
     VICTORIANO PACHECO,         )
13                               )
            Defendant.           )
14   ____________________________)
15         The parties hereto, by and through their respective attorneys, stipulate and
16   agree that the status conference in the instant action, currently calendared for
17   June 11, 2012, be continued to July 23, 2012 at 1:00 p.m. in the courtroom of
18   the Hon. Dennis L. Beck.
19         It is anticipated that the defense counsel will be representing his client, in
20   a multi-defendant, multi-day hearing in Fresno County Superior Court.          Said
21   hearing is calendared to commence on June 8, 2011 and continue, until
22   completed, into the week of June 11, 2012.
23         Further, due to the need for a specialized interpreter, defense counsel has
24   been unable to meet with Mr. Pacheco to explain to him the offer of settlement
25   extended by the government.
26         The requested additional time will afford defense counsel an opportunity to
27   meet with Mr. Pacheco, discuss the offer and determine whether the case will be
28   resolved or set for trial.

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 1           The parties also agree that any delay resulting from this continuance shall
 2   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(A).
 3
 4   DATED: June 7, 2012                   /s/ Kimberly Sanchez
                                           Assistant United States Attorney
 5                                         This was agreed to by Ms. Sanchez
                                           via email on June 6, 2012
 6
 7   DATED: June 7, 2012                   /s/ Roger K. Litman __
                                           ROGER K. LITMAN
 8                                         Attorney for Defendant
                                           VICTORIANO PACHECO
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11           IT IS SO ORDERED.
12             Dated:   June 7, 2012                /s/ Dennis L. Beck
     270bb                                     UNITED STATES MAGISTRATE JUDGE
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